
668 S.E.2d 24 (2008)
ALLTEL COMMUNICATIONS, INC., and H &amp; T PROPERTIES, INC.
v.
DAVIDSON COUNTY.
No. 495P07.
Supreme Court of North Carolina.
October 9, 2008.
Thomas E. Terrell, Jr., Greensboro, Laura M. Loyek, Research Triangle park, for Alltel, et al.
Robert C. Hedrick, County Attorney, Lexington, for Davidson County.

ORDER
Upon consideration of the petition filed on the 5th day of October 2007 by Petitioners in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
